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                             UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF MICHIGAN

STRYKER CORPORATION and
HOWMEDICA OSTEONICS CORP.,

                Plaintiffs,                            Case No. 1:05-CV-0051

vs.                                                    HON. ROBERT HOLMES BELL

NATIONAL UNION FIRE INSURANCE
COMPANY OF PITTSBURGH, PA, XL
INSURANCE AMERICA, INC., formerly
known as WINTERTHUR INTERNATIONAL
AMERICA INSURANCE COMPANY, and
TIG INSURANCE COMPANY,

                Defendants.


 David J. Gass (P34582)                                     Charles W. Browning (P32978)
 D. Andrew Portinga (P55804)                                Stephen P. Brown (P48847)
 J. Michael Smith (P24530)                                  PLUNKETT COONEY
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 David Bloss (P27213)                                       George J. Manos
 Michael W. Betz (P25014)                                   Diane K. Ehrhart
 BLOSS BETZ                                                 BOLINGER RUBERRY & GARVEY
 Attorneys for Defendant XL Insurance                       Attorneys for Defendant TIG Insurance Company
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                                STIPULATION FOR EXTENSION

                The parties stipulate as follows:

                1.      Plaintiffs shall have until April 14, 2008, to file a reply brief in support of

its Motion for Summary Judgment against XL Insurance America.
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                2.     Plaintiffs shall have until April 14, 2008, to file a reply brief in support of

its Motion for Summary Judgment against TIG Insurance Company.

                This extension is granted at the request of Plaintiffs’ counsel. Plaintiffs’ counsel

has requested this extension due to the press of other business.

Dated: April 8, 2008

MILLER JOHNSON                                       BOLINGER RUBERRY & GARVEY
Attorneys for Plaintiffs                             Attorneys for Defendant TIG Insurance


By     /s/ D. Andrew Portinga                        By     /s/ Diane K. Ehrhart
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                                             ORDER

                Having reviewed the foregoing Stipulation,

                IT IS SO ORDERED.
                                       /s/ Robert Holmes Bell
                                      _____________________________________
                                      HON. ROBERT HOLMES BELL
        April 9
Dated: _________________, 2008




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